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                       EXHIBIT 43
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 6
          Attorney for Defendants PERFECT I 0, INC. and
 7        NORMAN ZADA
 8
                                  UNITED STATES DISTRICT COURT
 9
                                 CENTRAL DISTRICT OF CALIFORNIA
10

11   GIGANEWS, INC., a Texas corporation;            Case No.: 2: 17-cv-05075-AB (JPR)
     LIVEWIRE SERVICES, INC., a Nevada
12
     corporation,                                    Before Honorable Jean P.
13                Plaintiffs,                        Rosenbluth
14             V.
                                     DEFENDANT DR. NORMAN
15   PERFECT 10, INC. a California   ZADA'S THIRD AMENDED
     corporation, NORMAN ZADA, an    RESPONSE TO PLAINTIFF
16   individual, and DOES 1-50, inclusive
                                     GIGANEWS'S SECOND SET OF
                  Defendants.        INTERROGATORIES (COVERS
17
     1-     - -- -- -- - -- -------1 ONLY COURT-ORDERED

18                                   INTERROGATORIES)

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              Zada's Third Amended Response to Giganews's Second Set of Interrogatories
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     PROPOUNDING PARTY:               PLAINTIFF GIGANEWS, INC.
2    RESPONDING PARTY:                DEFENDANT NORMAN ZADA
3    SET NUMBER:                      TWO (NO. 3-10)
4           Defendant Norman Zada ("Dr. Zada") amends his response for the third time
 5   to the Second Set of Interrogatories propounded by Plaintiff Giganews, Inc.
 6   ("Giganews") as follows:
 7                       INTERROGATORIES AND RESPONSES
 8   INTERROGATORY NO. 3:
 9         Identify all physical assets owned or otherwise controlled by Norman Zada
10   (including , but no limited to furniture, electronics, computer hardware,
11   photographic equipment, real property, and automobiles) at any time from January 1,
12   2011 to the present, including: (a) the current owner of the assets and (b) all
13   circumstances regarding the receipt, acquisition, transfer or disposition of the asset,
14   including the amount of any consideration exchanged for the assets, the date of the
15   exchanges, and the parties to the exchanges.
16   SECOND AMENDED RESPONSE TO INTERROGATORY NO. 3:
17   1.    Real property located 11803 Norfield Court, Los Angeles, CA, which was
18   purchased in or around November of 2010 for $4.25 million.
19   2.    Real property located at 4572 Martson, Encino, California, purchased in or

20   around June 2015, to generate some income, for $ 1.725 million.
21   3.    2009 Lexus automobile purchased in April of 2012 from Lexus when the lease

22   agreement expired, for approximately $33,000. Movie Slumber Party Slaughter,
23   created in 2011-12 for approximately $4.6 million.
24   4.    Seventeen ounces of gold
25   5.    Geneve watch
26   6.     Cash in safe totaling $70,000.
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     7.    In March-April of 2015, Dr. Zada purchased from Perfect 10, some furniture
2    and computers and other physical items for a total of $70,000. Those assets, and or
3    other assets belonging to Dr. Zada are detailed below:
4          a.     roughly 4000 Perfect 10 Magazines, printed by Perfect 10.
 5         b.     roughly 300 DVDs or tapes (manufactured by Perfect 10)
6          c.     roughly l 00 T-shirts (manufactured by Perfect l 0)
7          d.     roughly 50 hats (manufactured by Perfect 10)
 8         e.     Three bed sets (manufactured by Georgio Collection, Bed
9    Rooms&Board, and what appears to be ALF (hard to read) The ALF has a serial
10   number of 20340)
11         d.     Two desks - The large desk does not appear to have a manufacturer or
12   model number, it was custom made. The small desk was manufactured by 2-Line
13   Degree, Inc. The manufacturing date was O1/20 11 , model number SP930-01 CDC,
14   with an SKU of 753242.
15         e.     Six small computers - no model names, these were constructed with
16   off-the-shelf components by Perfect 1O's tech consultant, John Wilkins. Three have
17   Intel i5 processers, three have i7 processers.
18         f.     One scanner- Ricoh (Lanier) model LD035. Two safes, a cannon
19   purchased in 2004. The other safe is manufactured by First Alert. The numbers on
20   the safe are 2096DF-12144-15191, BZ-741695, and Rl5209. Both safes were
21   purchased for $300 or less.
22         g.     One sofa --- No manufacturer names or model name information has
23   been found; it was purchased at some furniture store just about San Vicente Blvd. in
24   West Hollywood, near La Cienega, and was custom made.
25         h.     Some chairs. One chair was manufactured by VIA, and has a price tag
26   on it of$110.07; another chair was manufactured by True Innovations, LLC, with a
27   manufactured date of 12/8/2010. SBG item number 20497. SKU number 898290.
28         1.     Five printers - Two HP Office Jet Pro 8100; One HP Laserjet 2300; and
                                               3
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     two HP LaserJet Pro 400s. One inexpensive filing cabinet, EFFEKTIV, with
2    additional numbers of 0337 and 13662 on the tag.
3         J.     Fax Machine -- Brother Intellifax 4750e. There is some computer
4    equipment downstairs, which is owned by Dr. Zada. At least some of it was
5    purchased from Perfect 10 but Dr. Zada is not sure which items were:
6          k.    Miscellaneous Computer Equipment:
7                 I.    Two Netgear GS724T Smart Switches.;
8                2.     Cisco RV042G router;
9                3.     Buffalo TS-h0.0tgl/r5 Ethernet port;
10               4.     2 Synology 1515+ diskstations (purchased by Dr. Zada himself);
11                5.    Two Barracuda spam firewall I OOs,
12                6.    Trendnet TK-803R USB Port;
13                7.    Dell Powervault DP500 server;
14                8.    Dell Poweredge 2950 server;
15                9.    Smart UPS 1500 XLM Battery Pack;
16                10.   APC 1000 XL power supp.ly.
17         The other physical assets that Dr. Zada owns and has owned from January 1,
18   2013 to December 31, 2017 (the "Relevant Period"), which were not transferred
19   from Perfect 10 to Dr. Zada in March and April, 2015, but whose value he believes
20   are in excess of $7 50, would be a Geneve watch that he purchased in the late 1980' s
21   for $2,250 dollars, and 17 ounces of gold, $70,000 in cash, and the movie Slumber
22   Party Slaughter.
23   INTERROGATORY NO. 4:
24         Identify all intangible assets owned or otherwise controlled by Norman Zada
25   (including, but not limited to furniture, electronics, computer hardware,
26   photographic equipment, real property, and automobiles) at any time from January 1,
27   2011 to the present, including (a) the current owner of the assets and (b) all
28   circumstances regarding the receipt, acquisition, transfer or disposition of the assets,
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 1   including the amount of any consideration exchanged for the assets, the dates of the
2    exchanges, and the parties to the exchanges.
3    SECOND AMENDED RESPONSE TO INTERROGATORY NO. 4:
4          Dr. Zada's understanding of "intangible assets" would be goodwill,
5    copyrights, and trademarks. The movie Slumber Party Slaughter may be viewed as
6    an intangible asset. Dr. Zada owns the copyright to his book "Winning Poker
7    Systems" published by Prentice Hall in 1974. He presumably owns some type of
 8   right to the papers that he has published. Other than that, he does not believe that he
 9   has any other "intangible asset." He has invested money in CW International.
10         INTERROGATORY NO. 5:
11         For each asset that Interrogatory 3 or 4 calls to be identified, identify all facts
12   regarding the asset's value, including all valuations of the assets, at any time from
13   January 1, 2011 to the present.
14   AMENDED RESPONSE TO INTERROGATORY NO. 5:
15   1.    Dr. Zada purchased his home at 11803 Norfield Court in November of 2010,
16   for $4.25 million. In June of 2015, it was appraised at $5.5 million.
17   2.    Dr. Zada purchased his home at 4572 Martsen, in Encino, CA for $1.725,000,

18   on or around June 30, 2015.
19   3.    The value of an ounce of gold is currently around $1200 an ounce. He has
20   seventeen ounces of gold
21   4.    Geneve watch, purchased in late 1980s for $2,250.
22   5.    Cash in safe totaling $70,000.
23   6.    "Winning Poker Systems" published by Prentice Hall in 1974 and published
24   papers that he has published; value unknown.
25   7.     Investment in CW International - he invested between $300,000 and
26   $800,000. The current value of this investment is unknown.
27   8.    The value of the bank, brokerage and other asset accounts is located on the

28   faces of the statements produced.
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     9.      Physical Items Transferred from Perfect IO to Dr. Zada in March and April
2    2015:
3            a.     4000 Perfect 10 Magazines - retail price was typically $6.99. These
4    have been sold for IO cents each in bulk, so total value is $400.
5             b.    300 DVDs or tapes. Unknown cost to purchase. Best estimate of their
6    value is zero.
7             C.    100 T-shirts -- Unknown cost to purchase. Best estimate of their value
 8   1s zero.
9             d.    50 hats -- Unknown cost to purchase. Best estimate of their value is
10   zero.
11            e.    Three bed sets - Purchased for $2,000 each in the year 2000. Best
12   estimate of their value, based one-bay, is $500 each at most, for a total of$1,500 in
13   total value.
14            d.    Two desks - One desk was purchased for $10,000 in the year 2000.
15   Estimated value of that desk now is $3,000. There is no purchase information for
16   the other desk, it is old, and is valued at zero. So total value of desks is $3 ,000.
17            e.    Six small computers - They were build by Perfect lO's tech person,
18   John Wilkins. To the best of Dr. Zada's memory, Mr. Wilkins charged around
19   $2000 for each machine which included the monitor and keyboard. They don't have
20   model names. Dr. Zada estimates that thei r age in 2015 was between 3 and 7 years
21   old. Computers with i7 processors appear to list used on Ebay for around $200.
22   (PN-USED-PRICES-0002). Perfect 10 may have also owned three computers with
23   Intel i5 processors in them. They were also made by Perfect !O's tech advisor, and
24   do not have model names. To the best of Dr. Zada's memory, Perfect I O's tech
25   person charged either Dr. Zada or Perfect 10 around $2,000 for those computers as
26   well. Machines with i5 processors seem to sell used on Ebay for around $150. (PN-
27   USED-PRICES-0001). Dr. Zada estimated the value of these computers plus the

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     workstation downstairs and its peripheral attachments to be worth around $3,000 in
2    2015.
3            f.    One scanner - Purchased for $8,000 in 2004. The receiver refused to
4    take it, so it's current value is zero.
 5           g.    One sofa --- purchased for $8,000 in the year $2,000, is valued at a
6    maximum of $3 ,000 now. The prices of used couches offered on Ebay suggest that
 7   the value may actually be substantially less. See PN-USED-PRICES-0003.
 8           h.    Some chairs -- Unknown cost to purchase. Best estimate of their value
 9   1s zero.
10           1.    Five printers - Two HP Office Jet Pro 8100, unknown purchase price, it
11   lists new for around $250.00. There is a used one being offered on ebay for $70.
12   (PN-USED-PRICES-0004).            HP Laserjet 2300, unknown purchase price, it sells
13   used for around $100; (PN-USED-PRICES-0005). Two HP Lasetjet Pro 400 color
14   printers, unknown purchase price, they appear to sell used for around $120. (PN-
15   USED-PRI CES-0006).
16           J.    Fax Machine - Brother Intellifax 4750e. Unknown purchase price; it is
17   old and appears to be listed for sale one-bay used for around $200. (PN-USED-
18   PRICES-0007-8).
19           k.    Miscellaneous Computer Equipment (no purchase price available for
20   any of these):
21                 1.     Two Netgear GS724T Smart Switches., listed one-bay for
22   roughly $40 (PN-USED-PRICES-0009);
23                 2.     Cisco RV042G router; listed used on e-bay for around $50. (PN-
24   USED-PRICES-0010).
25                 3.     Buffalo TS-h0.0tgl/r5 Ethernet port; listed used one-bay for
26   around $100. (PN-USED-PRICES-0011).
27                 4.     2 Synology 1515+ diskstations; appear to be listed one-bay new
28   for around $700. (PN-USED-PRICES-0012). These were purchased by Dr. Zada
                                                 7
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     (Not Pl 0) for $899 each on I I/6/2015.
 2                5.    Two Barracuda spam firewall 1OOs, listed one-bay used for
 3   around $150 each. (PN-USED-PRICES-0013).
 4                6.    Trendnet TK-803R USB Port; listed one-bay for $150 new, $50
 5   used. (PN-USED-PRlCES-0014).
 6                7.    Dell Powervault DP500 server; appears to be listed one-bay used
 7   for $50. (PN-USED-PRICES-0016).
 8                8.    Dell Poweredge 2950 server; listed one-bay for $100 used. (PN-
 9   USED-PRICES-00 I 5).
10                9.    Smart UPS 1500 XLM Battery Pack; listed one-bay for roughly
11   $100. (PN-USED-PRJCES-0017).
12                10.   APC 1000 XL power supply; discontinued, worth zero
13         While the values above are roughly the values of those items to Dr. Zada, he
14   believes that the items would have no value to the receiver, but the receiver would
15   have to transport the items, store them, and hire someone to sell them. Dr. Zada
I6   believes that those costs exceed whatever the items could be sold for.
17   INTERROGATORY NO. 6:
18         Identify all transfers of assets (including money) between Perfect 10 and
19   Norman Zada, including the date of transfer and the nature and amount of any
20   consideration in exchange for the transfer.
21   THIRD AMENDED RESPONSE TO INTERROGATORY NO. 6:
22         Perfect 10 responds as follows: Dr. Zada and Perfect 10 have already
23   described the physical transfers which occurred in March-April of2015 for $70,000,
24   and hereby incorporate in this response their response to Interrogatory No. 3.
25         With regard to the transfers of money, Dr. Zada refers Plaintiffs to Perfect
26   I O's financial statements, which are in their possession. Plaintiffs already know the
27   transfers from Perfect 10 to Dr. Zada because they listed them in their FAC.
28   Documents sufficient to identify all those transfers were produced at P-FIN003876-
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 1    3939 (BOA PIO account Jan 2013 to Mar 2014); Perfect 10 Bank of America
 2    statements from April 2014 to Nov 2015, produced at P-FIN009555 to 9676; Perfect
 3    10 Bank of America statements from Nov 2015 to Apr 2018, produced at PN-BOA-
 4    Pl0-0001-0048; P-FIN006551-6600; PIO BOA reconciliation reports for Jan 2013
 5    to Mar 2014, produced at P-FIN006551 - 6609; PIO BOA reconciliation reports for
 6    Jan 2014 to 10/31/2015 produced at Pn-BOA-REC-0001 -83; Perfect 10 Financial
 7    reports from Jan 2013 to Mar 2014, produced at P-FIN009029- 9126; Perfect 10
 8    Financial reports from Mar 31 to 2014 to Sept 30 2014, produced at P-FIN009987-
 9    10020; P-FIN-003924-3939; P-FIN009555-967I; P-FIN003786-3801; Perfect 1O's
10    2013 and 2014 tax returns, produced at P-FIN009817-9886; Perfect lO's 2015 and
11    2016 tax returns, produced at PN-PlO-TAX-15 16-0001-24; Payments made by Dr.
12    Zada directly in 2015, produced at P-FIN009750-9775; Dr. Zada's Personal tax
13    returns from 2014-2016, produced at PN-NZTAXOOOl-160; Dr. Zada's personal
14    2013 Tax Return, produced at PN-NZTAXl-0001-44; Dr. Zada' s personal BOA
15    statements from Dec 2012 to Mar 2015 , produced at PN-BOA-NZOOOl-75; Dr.
16    Zada' s personal BOA statements from Mar 2015 to 2018, produced at PN-BOA-
17    NZ l-0001-242; Dr. Zada's personal BOA reconciliation reports for Jan 2015-jan
18    2017, produced at PN-BOA-RECNZOOOl-184.
19          When Dr. Zada transferred money to Perfect 10, he was under the impression
20    that he was lending Perfect 10 that money, which was his to remove at any time at
21    his discretion. So the "consideration" for any transfer from Perfect 10 to Dr. Zada
22    would be a reduction in the amount Perfect 10 owed to Dr. Zada. However, if the
23    Dr. Zada' s monies were viewed as an investment, then the consideration would be a
24    reduction in Dr. Zada' s investment. The "consideration" could also be some other
25    change in Perfect 1O's books, since as a reduction in retained earnings. Dr. Zada left
26    those issues up to Perfect I O's account. From his standpoint, the transfers to him
27    represented a reduction in the amount Perfect 10 owed him. However, the
28    transferred money could also be viewed as compensation to Dr. Zada for his years of
                                               9
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 1   work for Perfect 10 without salary. Since, Dr. Zada had worked for Perfect 10 for at
 2    least 18 years, if he was entitled to only $100,000 a year for his efforts, he would
 3    still be entitled to at least $1.8 million, which is more than the $1.75 million at issue.
 4    So another way of viewing the consideration that Perfect 10 received, was that Dr.
 5    Zada was being paid for his work for Perfect 10, for his efforts in running and
 6    managing Perfect 10 and for his efforts in bringing in revenue via legal settlements.
 7    Those efforts included doing a substantial part of Perfect 10' s legal work to
 8    minimize its overall legal expenditures. The Court found in its order awarding
 9    attorneys fees to Plaintiffs, that Dr. Zada had apparently done several million dollars
1o    in legal work for Perfect 10 in the related case alone. Since the pendency of the
11    case, Perfect 10 transferred approximately a net $550,000 to Dr. Zada, not
12    $1,750,000 as Plaintiffs claim.
13          Defendants have also provided a spreadsheet of such transfers in their motion
14    for summary judgment, see Document 76, Exhibit 29, pages 225-226.
15    INTERROGATORY NO. 7:
16          For each transfer that Interrogatory No. 6 calls to be identified, identify all
17    facts concerning the value of the exchanged assets and consideration.
18    AMENDED RESPONSE TO INTERROGATORY NO. 7:
19          Dr. Zada incorporates here his response to Interrogatories No. 3 through. 6,
20    which he believes suitably answers this interrogatory.
21    INTERROGATORY NO. 8:
22          Identify all accounts (including but not limited to bank accounts, credit card
23    accounts, brokerage accounts, investment account, retirement accounts, pension
24    accounts, lease accounts, internet or other online service accounts, internet or other
25    online service account, util ity accounts, alarm or security service accounts, cable or
26    satellite television accounts, domain name accounts, mortgages, lines of credit, real
27    property, physical assets, cash assets, crypto currency or crypto assets) associated
28    with Perfect 10 or Norman Zada.
                                                 10
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 1   SECOND AMENDED RESPONSE TO INTERROGATORY NO. 8:
 2          Between January of2013 and December of 2017, Perfect 10 has had no credit
 3   card accounts, brokerage accounts, retirement accounts, pension accounts, lease
 4   accounts, mortgages, lines of credit, or crypto currency. The real property/physical
 5   assets have been fully described in Perfect 1O's response to Interrogatory No. 3,
 6   which is incorporated here. Perfect 1O's bank accounts and cash are identified by P-
 7   FIN003876-3939 (BOA PIO account Jan 2013 to Mar 2014); Perfect 10 Bank of
 8   America statements from April 2014 to Nov 2015, produced at P-FIN0095 55 to
 9   9676; Perfect 10 Bank of America statements from Nov 2015 to Apr 2018, produced
10   at PN-BOA-Pl0-0001-0048. Plaintiffs are in possession of all of domain names that
11   Perfect 10 previously owned. Documents identifying those domains were produced
12   at P-DOMNOOOOOl-5.
13          Between January of 2013 and December of 2017, Dr. Zada has had no lines of
14   credit other than possibly what is available on his credit cards. He has had no crypto
15    currency. Documents identifying his bank accounts, brokerage accounts, credit card
16    accounts, investment accounts, retirement accounts, pension accounts, mortgages,
17    have been produced in Defendants first production at AmEx 2014 1 2017 1 (PN-
18    AMEX-0001-542; BOA credit cards (PN-BOA-CC-0001-139); BOA Dec 2012 to
19    mar 2015 NZ (PN-BOA-NZOOOl-75), chase (PN-CHASEOOOl-108), credit cards
20    misc. (PN-CC-MISCOOOl-3, CW (PN-CW-0001-7), Lexus pink slip (PN-LEXUS-
21    0001), Lexus purchase by NZ (PN-LEXUS-PUR-0001-5), loan docs (PN-LOAN-
22    0001), Morgan Stanley (PN-MS-0001-353). Additional documents were produced
23    in Defendants second production at Amex 2018 confidential (not bates stamped),
24    Amex 2013 Feb 2017 onward confidential (PN-AMEXl-0001-314) BOA credit
25    cards 2 confidential (PN-BOA-CCl-0001-167); BOA NZ 2015 to 2018 confidential
26    (PN-BOA-NZ 1-0001 ), BOFA for parents confidential(PN-BOAP-0001 -102); chase
27    added 2013 2018 confidential (PN-CHASE-0109-182), chase stocks confidential
28    (PN-CHASES-0001-2), Citi 1140 Statement breakdown 2015-8-28 (no bates
                                              11
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 1   number), Citi confidential more coming (PN-CJ-0001-9), etrade confidential (PN-
 2   ET-0001-6), JP Morgan 20 13 confidential ( no bates), Morgan Stanley 2013 onwards
 3   confidential (PN-MS-0354-0933), Putnam 2013 confidential (PN-PUT-13-0001 -4),
 4   Putnam confidential (PN-PUT-0001-6), Tradestation futures confidential (PN-TSF-
 5   0001 -1 25), Tradestation stocks confidential (PN-TSS-0001-27), WF Advisors 2013
 6   onward confidential (PN-WFADV 1-0001 -578. Additional documents were
 7   produced in Defendants third production as Citi 2013 to 2018 (PN-CITl-2-0001 -28),
 8   all of production 3. In production 4, additional documents were produced at PN-
 9   RET-UBS-0001-512, and PN-RET-TDA-0001-40. In production 5, additional
1o   documents were produced at boa585 l PN-B0A585 l -OOO 1-163), chase added
11   (CHASE-ADDED-0001 -142), more Citi (PN-CITI-3-0001-96), MS July 18 (PN-
12   MSl -0001-8), Putnam (PN-PUTl-0001 -19), Ret TOA added (PN-RET-TDAl-0001-
13    11), Ret UBS added (PN-RET-UBSI-0001 - 134), Tradestation July 2018 (PN-RET-
14   TOA 1-0001-7); value of scanner (no bates numbers), value of used items (no bates
15    numbers), WF Advisors added (Pn-WFADV2-0001-24). In production 6, additional
16    documents were produced as "Parent accounts." (PN-PARENTS-0001-22). In
17    production 7, additional documents were produced at Citi 2016 (no bates numbers)
18    and UBS Aug 2014 PN-RET-UBSAUG-0001-10). In production 8, additional
19    documents were produced at chase 3238 3954 (PN-CHASECC-0001-94). In
20    production 9, additional documents were produced at BofA bank plus credit card
21    (Pn-BOAADDED-0001-9); chase bank (PN-CHASEADDED-0001-12); Morgan
22    Stanley, (PN-MSADDED-0001-7); prices of computer accessories (PN-PRICES-
23    0001-12. In production 10, additional documents were produced at Morgan Stanley
24    added 18 (PN-MSADDED18-0001).
25          INTERROGATORY NO. 9:
26          Identify each Perfect 10 asset transferred to any Person from January 1, 2011
27    to the present (including but not limited to bank accounts, credit card accounts,
28    brokerage accounts, investment accounts, retirement accounts, pension accounts,
                                            12
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 1    lease accounts, internet or other online service accounts, domain name accounts,
 2   mortgages, lines of credit, real property, physical assets, cash assets, crypto assets, or
 3   other assets owned or otherwise controlled by Perfect 10), and all facts concerning
 4   the value of each asset at the time of transfer.
 5   SECOND AMENDED RESPONSE TO INTERROGATORY NO. 9:
 6          Dr. Zada 10 is not aware of any transfers of credit card accounts, brokerage
 7   accounts, crypto accounts, etc. Dr. Zada does not view payments to attorneys and
 8   employees as "transfers," but rather has payments. The only "transfer" that Dr. Zada
 9    is aware of, would be a transfer of around $454,000 to Eric Benink in or around
10   March 27, 2015, which was later returned, and the transfers from Perfect 10 to Dr.
11   Zada described in the Plaintiffs' First Amended Complaint. The only payments that
12   Dr. Zada is aware of are reflected by Perfect 10' s bank statements and other
13    financial records, which are already in possession of the Plaintiffs. Documents
14    sufficient to identify those payments were produced at P-FIN003876-3939 (BOA
15    PIO account Jan 2013 to Mar 2014); Perfect 10 Bank of America statements from
16    April 2014 to Nov 2015, produced at P-FIN009555 to 9676; Perfect 10 Bank of
17    America statements from Nov 2015 to Apr 2018, produced at PN-BOA-Pl 0-0001-
18    0048; P-FIN00655 l-6600; P 10 BOA reconciliation reports for Jan 2013 to Mar
19    2014, produced at P-FIN00655 l - 6609; PIO BOA reconciliation reports for Jan
20    2014 to 10/31/2015 produced at Pn-BOA-REC-0001-83; Perfect 10 Financial
21    reports from Jan 2013 to Mar 2014, produced at P-FIN009029-9126; Perfect 10
22    Financial reports from Mar 3 1 to 2014 to Sept 30 2014, produced at P-FIN009987-
23    10020; P-FIN-003924-3939; P-FIN009555-9671; P-FIN003786-3801; Perfect 1O' s
24    2013 and 2014 tax returns, produced at P-FIN009817-9886; Perfect lO's 2015 and
25    2016 tax returns, produced at PN-PlO-TAX- 15 16-0001-24; Payments made by Dr.
26    Zada directly in 2015, produced at P-FIN009750-9775; Dr. Zada's Personal tax
27    returns from 2014-2016, produced at PN-NZTAXOOOl-160; Dr. Zada's personal
28    2013 Tax Return, produced at PN-NZTAX l -0001-44; Dr. Zada's personal BOA
                                                13
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 1    statements from Dec 2012 to Mar 2015, produced at PN-BOA-NZOOOI-75; Dr.
 2    Zada's personal BOA statements from Mar 2015 to 2018, produced at PN-BOA-
 3    NZl -0001-242; Dr. Zada's personal BOA reconciliation reports for Jan 2015-jan
 4    2017, produced at PN-BOA-RECNZOOOl-184.
 5          The only physical assets that were transferred in exchange for a payment of
 6    $70,000 in March of 2015, have already been discussed, along with all information
 7    concerning their value, in the response to Interrogatory Nos. 3, 4 and 5, which are
 8    incorporated herein by reference.
 9    INTERROGATORY NO. 10:
1o          Identify all facts concerning the statement( s) of Perfect IO or Zada referred to
11    in paragraph 28 of the FAC, including the statements that "Dr. Zada and Perfect 10
12    did not have the funds to pay the full amount [of the judgment] in case," and/or "Dr.
13    Zada and Perfect 10 did the best they could given the limited amount of cash they
14    had available."
15    SECOND AMENDED RESPONSE TO INTERROGATORY NO. 10:
16          Dr. Zada has produced in 2014 tax return along with brokerage and bank
17    statements for all accounts identified in that return, along with brokerage statements
 18   for his retirement account. These documents show that when the $5 .63 million
19    award was entered, between Dr. Zada and Perfect 10, they had about $4.5 million
20    available in cash and cash equivalents outside of Dr. Zada's retirement account,
21    which had about $1.5 million, which was not enough to pay the $5 .63 million award
22    in cash and leave Dr. Zada with enough money to live, which is why he was forced
23    to offer to pay part via a first trust deed on his home. The supporting documents
24    which support these claims were recently filed as part of Defendants motion for
25    summary judgment. They appear Document 73, Declaration of Dr. Norman Zada, il
 26   60, which reads as follows: Plaintiffs now contend that our offer was fraudulent
 27   because we actually had that much in cash. That is simply not the case. Attached as
 28   Exhibit 36 are true and correct copies of a portion of my 2014 tax return (PN-
                                               14
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 1    NZTAX0105, 111), and the December 2014 (PN-B0A-NZ0064) and March 2015
 2    bank (PN-B0A-NZ0073) and brokerage statements for the accounts listed on the
 3    return, along with the March 2015 statement for my retirement account. The Bank
 4    of America account shows a value of $1.011 million as of March 20, 2015. The
 5    Chase statement (PN-CHASE0069, 0087) shows a value of approximately $1.507
 6    million as of March 31, 2015. The Morgan Stanley statement (PN-MS-0215) shows
 7    a value of approximately $1.045 million as of March 31, 2015. The Wells Fargo
 8    advisors statement shows a value of approximately $0.527 million as of March 31,
 9    2015.    (PN-WFADV-0053).         The combined value of those accounts was
10    approximately $4.090 million. My retirement account had about $1.548 million but
11    I didn't want to touch that. Furthermore, I had to have cash to live and pay the cost
12    of the appeal. Perfect 10 and I simply did not have enough in cash to pay $5 .819
13    million with enough cash left for other predictable expenses. I have also included a
14    page from my 2015 return, which shows that I lost approximately $673,000 in 2015.
15    In other words, my financial situation deteriorated in 2015.    See also supporting
16    documents attached as Exhibit 36, pages 307-317 of that declaration.
17
      Dated: September 24, 20 18        LAW OFFICES OF MATTHEW C.
18                                      MICKELSON .
19

20                                      By: _ _ _ _ _ -==----- - - -- - -
                                            Matthew C. Mickelson
21                                          Attorney for Defendants
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           Zada's Third Amended Response to Giganews's Second Set of Interrogatories
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 1                                        VERIFICATION
 2    l, Norman Zada, Ph.D., declare as follows:
 3          I.    I am a Defendant in this action.
 4          2.    I have read the foregoing DEFENDANT DR. NORMAN ZADA'S
 5                THIRD AMENDED RESPONSE TO PLAINTIFF GIGA.NEWS'S
 6                SECOND SET OF INTERROGATORIES (COVERS ONLY
 7                COURT-ORDERED INTERROGATORIES) and I am familiar with
 8                the contents thereof.
 9          3.    To the best of my knowledge and belief, the matters set forth in this
10                Response are true and accurate.
11          4.    I reserve the right to make changes in this Response if it should appear
12                at any time that omissions or errors have been made or that additional
13                or more accurate information has been obtained.
14          I declare under penalty of perjury under the laws of the United States that the
15    foregoing is true and correct, to the best of my knowledge.
16          Executed on September 24, 2018 in Los Angeles County, California.
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          Zarla's Third Amended Response to Giganews's Second Set of Interrogatories
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 1                           PROOF OF SERVICE
                STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 2
 3    I am employed in the county of Los Angeles, State of California. I am over the age
      of 18 and am not a party to the within action; my business address is: 16055 Ventura
 4
      Blvd., Ste. 1230, Encino CA 91436
 5
      On September 24, 2018, I served the foregoing document described as follows:
 6
      DEFENDANT DR. NORMAN ZADA's THIRD AMENDED RESPONSE TO
 7    PLAINTIFF GIGANEWS'S SECOND SET OF INTERROGATORIES
       (COVERS ONLY COURT ORDERED INTERROGATORIES)
 8
      on the interested parties in this action by sending a copy by:
 9
      0   MAIL: I placed a true copy thereof enclosed in a sealed envelope addressed to
10
      the address(es) listed below. I placed such envelope with fully prepaid postage
11    thereon in the United States mail at Encino, California.
12
                             Andrew P. Bridges I Todd Gregorian
13                                 FENWICK & WEST LLP
                               555 California Street, 121h Floor
14
                                  San Francisco, CA 94104
15
                          Ronald P. Slates, Konrad Trope, Jesse Yanco
 16
                                     Ronald P. Slates, P.C.
 17                              500 S. Grand Ave. Ste. 2010
                                    Los Angeles, CA 90071
 18

19    0 EMAIL: I transmitted by electronic mail such documents to the email addresses
      below.
20
21    Andrew P. Bridges                             Todd Gregorian
      abridges@fenwick.com                          tgregorian@fenwick.com
22
23    Ronald P. Slates                              Konrad Trope
      Rslates2@rslateslaw.com                       ktrope@rslateslaw.com
24
25
      FEDERAL: I declare that I am employed in the office of a member of the bar of this
26
      court at whose direction the service was made. I declare, under penalty of perjury,
27    that the foregoing is true and correct.
 28
                                               17
           Zada' s Third Amended Response to Giganews's Second Set of Interrogatories
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 1
      Executed on September 24, 2018 at Encino, Califo~
 2
                                            BY:            ~          ....-::::::::::
 3
                                                   MATT    WC. MICKELSON
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          Zada' s Third Amended Response to Giganews's Second Set of Interrogatories
